Case 1:21-cv-23788-BB Document 1 Entered on FLSD Docket 10/27/2021 Page 1 of 5



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                           IN ADMIRALTY

                                              CASE NO.:

 P & L TOWING AND TRANSPORTATION, INC.,

        Plaintiff,

 vs.

 F & M SHIPPING SERVICES, INC.,

       Defendant.
 __________________________________________/

                                            COMPLAINT

        Plaintiff, P & L Towing and Transportation, Inc. (“P & L Towing”), sues in personam

 Defendant, F & M Shipping Services, Inc. (“F & M”), and alleges:

        1.       This action originates from a maritime contract breach related to transporting

 cargo in international commerce between South Florida and Haiti as set forth in more detail below.

        2.       The Court has subject matter jurisdiction over this maritime transportation

 contract action pursuant to 28 U.S.C. § 1333, admiralty and maritime jurisdiction. To the extent

 that any related claims in this action fall outside of this Court’s admiralty and maritime

 jurisdiction, Supplemental Jurisdiction pursuant to 28 U.S.C. § 1367 is invoked as to those claims.

        3.           Plaintiff, P & L Towing and Transportation, Inc. (hereinafter “P & L Towing”),

 invokes Rule 9(h) of the Federal Rules of Civil Procedure.

        4.       At all times material hereto, Plaintiff, P & L Towing, was and is a Florida

 corporation authorized to transact business in the State of Florida providing marine towing and

 transportation services to its clients from the P & L facility located on the Miami River in Miami-

 Dade County, Florida, and maintaining its principal business address at 14501 S.W. 21st Street,
Case 1:21-cv-23788-BB Document 1 Entered on FLSD Docket 10/27/2021 Page 2 of 5



 Davie, Florida 33325.

        5.      At all material times hereto, P & L Towing agreed to provide a suitable tug and

 deck barge for the benefit of Defendant, F & M, so that F & M could load cargo onto the deck

 barge for transportation from Miami to various ports in Haiti. A true and correct copy of the

 Proposal setting forth the material terms and conditions of the Agreement is attached hereto as

 Exhibit “1.”

        6.       Upon information and belief, in personam Defendant, F & M Shipping Services,

 Inc., was, at all material times, a Florida limited liability company maintaining a principal address

 at 2199 N.W. South River Drive, Miami, Florida 33142.

                                             BACKGROUND

        7.       On or about June 2, 2021, a Marine Towing Proposal was made by P & L Towing

 to F & M. This Proposal became a Marine Towing Agreement between Plaintiff, P & L Towing,

 and in personam Defendant, F & M, to tow a barge from Miami, Florida to various ports of call in

 Haiti and then back to Miami, Florida when both parties signed the contract. A true and correct

 copy of the Marine Towing Agreement (“Agreement”) is attached hereto as Exhibit “1”.

        8.       By the terms of the Agreement, Plaintiff agreed to provide a tug and barge service

 to the Defendant so that the Defendant could transport cargo to various ports in Haiti. The

 Agreement contemplated rates for the tug while under way and while at standby. The barge was

 charged at a fixed daily rate of $1,000.00 per day.

        9.       In addition to paying for the tug and barge at the rate set forth in the Agreement,

 the Defendant agreed to pay for additional items, such as, fuel and lubes, port fees, assist tugs,

 customs duties/tariffs, agency fees, customs clearances, dockage, wharfage, line handling, harbor

 pilots, and docking pilots, etc., under the Agreement.

                                                  2
Case 1:21-cv-23788-BB Document 1 Entered on FLSD Docket 10/27/2021 Page 3 of 5



        10.      The Agreement contemplated the tug and barge would be on hire until they

 returned to Miami, Florida and cleared the Department of Homeland Security, U.S. Customs and

 Border Protection, which occurred on August 31, 2021.

        11.      The total amount owed to P & L Towing by the Defendant for the towing services

 and other charges for the transportation services from Miami, Florida to Haiti and back to Miami,

 Florida was $189,984.60. A true and correct copy of P & L Towing’s Invoice (INV-0196) is

 attached hereto as Exhibit “2.”

        12.      The payment terms set forth in the Agreement required Defendant, F & M, to pay

 some towing/transportation expenses in advance, prior to the tug and barge’s departure for Miami,

 Florida, and the remaining balance (including any additional standby time or charges for the

 Defendant’s account) upon return to Miami, Florida, or every 15 days whichever is sooner.

        13.      On June 28, 2021, Defendant paid a $42,000.00 deposit on account to secure the

 transportation. Because the Haitian President was assassinated on July 7, 2021, the voyage was

 delayed by mutual agreement of Plaintiff and Defendant.

        14.      The delay caused the tug and barge to leave for Haiti on August 5, 2021.

        15.      Upon returning to Florida, Defendant paid another $40,000.00 to Plaintiff on

 account towards the transportation services rendered.

                                       COUNT I
                            BREACH OF MARITIME CONTRACT

        16.      P & L Towing is owed the outstanding sum of One Hundred Seven Thousand

 Nine Hundred Eighty-Four and 60/100 Dollars (US $107,984.60) for the tug, barge, and other

 expenses it provided to the Defendant through August 31, 2021. See Exhibit “2” attached hereto

 as the invoice sent to Defendant. (Note the invoice date is wrong but the amounts are correct).

                                                 3
Case 1:21-cv-23788-BB Document 1 Entered on FLSD Docket 10/27/2021 Page 4 of 5



         17.      There has been no complaint from Defendant about the rates charged and, more

 importantly, Defendant has not paid the full outstanding amount owed since the tug and barge

 arrived back in Miami on August 31, 2021.

         18.      The Defendant has failed to pay the invoiced charges for the balance due for the

 transportation of its goods and thereby has breached the contract, thus damaging Plaintiff.

         19.      P & L Towing is entitled to recover from the Defendant, F & M, the total sum of

 One Hundred Seven Thousand Nine Hundred Eighty-Four and 60/100 Dollars (US $107,984.60)

 and pre-judgment interest on the unpaid balance along with the costs of this proceeding which

 includes, but is not limited to, the court filing fee.

         WHEREFORE, Plaintiff, P & L Towing, demands the following relief:

                 (a)     that judgment be issued against the in personam Defendant, F & M

                         Shipping Services, Inc.; and that this Court award expenses and

                         other recoverable litigation costs; and

                  (b)    for such other and further relief as this Court deems just and proper

                         against Defendant F & M Shipping Services, Inc.

                                           COUNT II
                                      EQUITABLE REMEDIES

         20.      P & L Towing re-alleges paragraphs 1 through 15 of the Complaint as if fully set

 forth herein.

         21.      If the Court finds one or more of the charges alleged to be due to Plaintiff from

 Defendant are not governed by the maritime contract (Agreement), then P & L Towing alleges the

 following equitable claims as alternative forms of relief against F & M Shipping Services, Inc.

         22.      More particularly, P & L Towing alleges it is entitled to recover for the value of


                                                     4
Case 1:21-cv-23788-BB Document 1 Entered on FLSD Docket 10/27/2021 Page 5 of 5



 the services and supplies provided for the Defendant’s benefit under equitable principles of

 quantum meruit or, alternatively, unjust enrichment.

        23.      Defendant, F & M, knew P & L Towing was providing services and supplies

 which were necessary for the tug and barge to move Defendant’s cargo from Miami, Florida to

 Haiti and for the return of the tug and barge from Haiti back to Miami, Florida.

        24.      Defendant, F & M, accepted P & L Towing’s services and supplies and F & M

 will be unjustly enriched if it does not pay for the reasonable value of the services and supplies

 provided for its benefit by P & L Towing.

        25.      The reasonable value of P & L Towing’s services and supplies provided to or for

 the benefit of F & M is $107,984.60.

        WHEREFORE, Plaintiff, P & L Towing and Transportation, Inc., demands judgment

 against the Defendant, F & M Shipping Services, Inc., and request an award for the reasonable

 value of the services and supplies that it provided to the Defendant, plus pre-judgment interest,

 court costs and such further relief the Court deems proper.

        Dated: October 27, 2021.

                                              Respectfully submitted,

                                              By: /s/ James W. Stroup
                                                 JAMES W. STROUP
                                                 Florida Bar No. 842117
                                                 FARRIS J. MARTIN, III
                                                 Florida Bar No. 879916
                                                 Stroup & Martin, P.A.
                                                 119 Southeast 12th Street
                                                 Fort Lauderdale, Florida 33316
                                                 Telephone: (954) 462-8808
                                                 Facsimile: (954) 462-0278
                                                 E-mail: jstroup@strouplaw.com
                                                 E-mail: fmartin@strouplaw.com
                                                 Attorneys for Plaintiff

                                                 5
